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                  10
                                                       UNITED STATES DISTRICT COURT
                  11
                                             NORTHERN DISTRICT OF CALIFORNIA (San Jose Division)
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                  13        TERESITA AUBIN, DAVID BROWNFIELD, and             NO.: 21-CV-07938-NC
                            WYNETTE SILLS,
                  14                                                          JOINT NOTICE OF PROPOSED
                                        Plaintiffs,                           MOTION/BRIEFING SCHEDULE
                  15
                                        v.                                    Courtroom: #5
                  16                                                          Judge: Cousins
                            ROB BONTA, in his capacity as Attorney General
                  17        of the State of California,
                  18                    Defendant.
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    Michael Millen, Esq.
119 Calle Marguerita #100   JOINT NOTICE OF PROPOSED MOTION/BRIEFING                           21-CV-07938-NC
    Los Gatos, CA 95032
      (408) 871-0777        SCHEDULE
                                Case 5:21-cv-07938-NC Document 31 Filed 01/11/22 Page 2 of 2




                    1              The parties hereby propose the following Motion/Briefing Schedule:

                    2

                    3              February 9, 2022: Plaintiff’s Motion for Summary Judgment or, in the alternative,

                    4       Preliminary Injunction

                    5              March 9, 2022:     Defendant’s Combined Opposition and Cross-Motion for Summary

                    6       Judgment

                    7              March 23, 2022: Plaintiff’s Reply and Opposition

                    8              April 6, 2022:     Defendants Reply

                    9              April 27, 2022:    Hearing by Zoom webinar
                  10

                  11        Dated: January 11, 2022
                  12                                                                    MICHAEL MILLEN, ESQ.
                  13                                                                     Attorney for Plaintiffs

                  14        Dated: January11, 2022
                  15                                                                     /S/ Rita Bosworth
                                                                                       RITA B. BOSWORTH, ESQ.
                  16                                                                   Deputy Attorney General
                                                                                  Attorneys for Def. Rob Bonta, in His
                  17                                                                       Official Capacity
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    Los Gatos, CA 95032
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